Case 1:06-cr-10010-HFB        Document 77        Filed 03/05/09     Page 1 of 1 PageID #: 264




                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION


UNITED STATES OF AMERICA                        )
                                                )
                                                )
VS.                                             )   CRIMINAL NO. 1:06CR10010-001
                                                )
                                                )
LUCILLA VALDEZ                                  )


                                           ORDER

       Before the Court is a Motion to Correct Judgment and Commitment filed on behalf of

Defendant Lucilla Valdez. (Doc. No. 73). In this motion, Defendant asks the Court to correct

the Amended Judgment (Doc. No. 69) entered in this case which incorrectly imposes a fine of

$2,000.00 on the Defendant. Defendant states that the correct fine imposed by the Court at

sentencing was $1,000.00. The government has responded and has no objections to the

Defendant’s motion. (Doc. No. 75). Upon consideration, the Court finds that the motion should

be and hereby is granted. An Amended Judgment will be entered in this case reflecting the

correct fine imposed by the Court and ordered to be paid by Defendant Lucilla Valdez is

$1,000.00.

       IT IS SO ORDERED, this 5th day of March, 2009.



                                                             /s/Harry F. Barnes
                                                           Hon. Harry F. Barnes
                                                           United States District Judge
